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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                    :
v.                                   :   No.: 21-cr-036 (CJN)
                                    :
GINA BISIGNANO                       :
                  Defendant.         :
____________________________________:

              DEFENDANT GINA BISIGNANO’S MOTION TO CONTINUE
                           SENTENCING HEARING

       Defendant Gina M. Bisignano, by and through her undersigned counsel of record, hereby

moves this Honorable Court for a an order continuing the sentencing hearing from January 16,

2025 to March 27, 2025. The government opposes Ms. Bisignano’s request for a continuance.

       In support of its motion, the defense states as follows:

       Pursuant to a written plea agreement, Ms. Bisignano previously pled guilty to six of the

seven counts in the indictment. She was subsequently permitted to withdraw her guilty plea to

count one, which charged a violation of 18 U.S.C. § 1512. She is currently on pretrial release

with house arrest restrictions.

       Following the Supreme Court’s decision in United States v. Fischer, 144 S. Ct. 2176

(2024), the government indicated it would abandon the § 1512 count, but moved the Court to

find Ms. Bisignano in breach of her plea agreement such that they could pursue count three, the

lone outstanding count in the indictment. The defense opposed the government’s motion but

expressed Ms. Bisignano’s intent to plead guilty to count three. The Court set a change of plea

hearing for August 5, 2024.




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       The parties appeared before the Court on August 5, 2024. Ms. Bisignano, however, had

to appear remotely because her flight was cancelled. Due to Ms. Bisignano’s remote appearance,

the Court heard argument on the government’s motion regarding breach, but continued the

change of plea hearing. The defense proposed to merge the change of plea and sentencing

hearings, and the Court set November 7, 2024 as the date for the combined change of plea and

sentencing hearing.

       On October 3, 2024, the United State Probation Office filed a request to delay the

sentencing until January 2025 based on “unforeseen and extenuating circumstances.” Dkt. 104.

The Court granted the probation office’s request and extended the sentencing hearing to January

16, 2025.

       Defense counsel is unable to proceed on that date. Ms. Bisignano is represented by

Jonathan Aminoff and Holt Alden of the Office of the Federal Public Defender for the Central

District of California. DFPD Aminoff is unable to appear on January 16, 2025 because DFPD

Aminoff will be starting a trial in another matter on January 14, 2025 in Los Angeles, California.

In that case, the government estimates that its case-in-chief will last at least two weeks. DFPD

Alden is similarly occupied with other matters and has a sentencing hearing scheduled on

January 17, 2025 at 8:30 a.m. in Los Angeles, California.

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       I am therefore requesting that the sentencing hearing be continued to April 3, 2025, with

governments sentencing position due on March 26, 2025 and defendants position due on March

31, 2025.



                                            Respectfully submitted,

                                            CUAUHTEMOC ORTEGA
                                            Federal Public Defender



DATED: November 20, 2024                By /s/ Jonathan C. Aminoff
                                            JONATHAN C. AMINOFF (Bar No. 259290)
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UNITED STATES OF AMERICA             :
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v.                                   :   No.: 21-cr-036 (CJN)
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GINA BISIGNANO                       :
                  Defendant.         :
____________________________________:

                                CERTIFICATE OF SERVICE

       I hereby certify on the 20th day of November 2024, a copy of same was electronically

filed using the CM/ECF system, and thus delivered to the parties of record, and pursuant to the

rules of the Clerk of Court:

                               Kimberly L. Paschall
                               Assistant United States Attorney
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                               555 4th Street, N.W.
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DATED: November 20, 2024                 By /s/ Jonathan C. Aminoff
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